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DOCKET NO. 1827 “THER Dis: ASTICUEENS OFerce

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FOR THE JUDICIAL PANTL ON
FE YCLAL PANEL ON MULTIDISTRICT LITIGATION

IN RE TFT-LCD (FLAT PANEL) ANTITRUST LITIGATION

BEFORE WM. TERRELL HODGES, CHAIRMAN, D. LOWELL JENSEN, J.
FREDERICK MOTZ, ROBERT L. MILLER, JR... KATHRYN H. VRATIL,
DAVID R. HANSEN AND ANTHONY J. SCIRICA,* JUDGES OF THE
PANEL

 

TRANSFER ORDER

This litigation currently consists of twenty actions pending in five separate districts: the
Northern District of California (thirteen actions), the District of New Jersey (three actions), the Southem
District of New York (two actions), the Eastern District of New York (one action) and the Western
District of Tennessee (one action). Plaintiffs in eight of the thirteen Norther District of California
actions and plaintiff in one of the three District of New Jersey actions separately move the Panel,
pursuant to 28 U.S.C. § 1407, for centralization of this litigation in their respective districts.’ All
responding parties support centralization. The majority support selection of the Northem District of
California as transferee forum, while others urge the Panel to choose the District of New Jersey, the
Southern District of New York, or the Western District of Washington.’

On the basis of the papers filed and hearing session held, the Panel finds that these twenty
actions involve common questions of fact, and that centralization under Section 1407 in the Northern
District of California will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of the litigation. All these actions involve common factual allegations concerning
defendants’ alleged conspiracy to fix the price of thin film transistor-liquid crystal display (TFT-LCD)
panels, which are used in computer monitors, flat panel television sets, and other electronic devices.
Centralization under Section 1407 is necessary in order to eliminate duplicative discovery, prevent
inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the judiciary.

We conclude that the Northern District of California is an appropriate transferee forum in this
docket because over 50 of the actions of which the Panel has been notified have been brought in that

 

” Judge Scirica took no part in the disposition of this matter. In light of the fact that Judge Miller could
be a member of the putative class(es) in this litigation, he has filed with the Clerk of the Panel a formal
renunciation of any claim that he may have as a putative class member, thereby removing any basis for a
disqualification of Judge Miller on that ground.

' The Panel has been notified of over 100 additional related actions pending in multiple districts. These
actions and any other related actions will be treated as potential tag-along actions. See Rules 7.4 and 7.5,
R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001).

> Certain other responding parties initially suggested that the Panel select either the Eastern District of
Tennessee or the District of South Carolina, but withdrew those suggestions at oral argument.
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district, and it appears to be somewhat more conveniently located for the significant number of Asia-
based defendants.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the actions in this litigation

pending outside the Northern District of California and listed on Schedule A are transferred to the
Northern District of California and, with the consent of that court, assigned to the Honorable Susan Y.

ston for coordinated or consolidated pretrial proceedings with the actions pending in that district and
listed on Schedule A.

FOR THE PANEL:

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Wm. Terrell Hodges
Chairman

 

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SCHEDULE A

MDL-1827 -- In re TFT-LCD (Flat Panel) Antitrust Litigation

Northern District of California

 

Judd Eliasoph v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7588 ST

Jo Nash v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7601 3

Will Henderson v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7609 3 =
Jamie Maites v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7638 S—
Henry Truong v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7639 3
Crago Corp. v. Samsung Electronics Co., Ltd., et al., C.A. No. 3:06-7644 aA“ ©
Robert Kerson v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7678 ©
Karen Brock v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7679 3 =

Ari Hakim v. LG Philips LCD Co., Ltd., et al., C.A. No. 3:06-7699 Sa
Arthur Sorokin v. LG Philips LCD Co., Ltd., et al., C.A. No. 4:06-7600 5
Amy Forlan v. LG Philips LCD Co., Ltd., et al., C.A. No. 4:06-7602 3
Stephanie Truong v. LG Philips LCD Co., Ltd., et al., C.A. No. 4:06-7640 37
Frederick Rozo v. LG Philips LCD Co., Ltd., et al., C.A. No. 4:06-7693 Sx

District of New Jersey

Nathan Muchnick, Inc. v. Sharp Corp., et al., C.A. No. 2:06-6107

Roberta Harrell v. LG Philips LCD Co., Ltd., et al., C_.A. No. 2:06-6190

Richard A. Markham v. LG Philips LCD Co., Ltd., et al., C.A. No. 2:06-6191
Eastern District of New York

Chris Ferencsik v. LG Philips LCD Co., Ltd., et al., C.A. No. 1:06-6714

Southern District of New York

Gladys Baker v. LG Philips LCD Co., Lid., et al., C.A. No. 1:06-14335
Jack Elbaz v. LG Philips LCD Co., Lid., et al., C.A. No. 1:06-14423

Western District of Tennessee

Audio Video Artistry v. Samsung Electronics Co., Ltd., et al., C.A. No. 2:06-2848
